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lN THE UN|TED STATES |DlSTR|CT COURT

 

FOR THE SOUTHERN DlSTR{lCT OF lV|lSS|SS|PP|
NORTHERN DlVlSlON

 

GEORG|A ELLEN HEAD & ANGELA lVlA.R|E WARD

Plaintiff,
V- colleLAlNT
THE sTATE ol= lvusslsslPPl Ci\,i| Action NO:
Defendant 31 lCG-C,\J »<H\..CJJ)L~LU

 

lNTRODUCT|ON

1. Georgia A|len Head & Ange|a |V|arie Ward bring this action against the
state to enforce the right of adults with mental illness to receive services in
the most integrated setting appropriate to their needs. The State
discriminates against adults With mental illiness by administrating and
funding this program and services for those individuals in a manner that
has resulted in their repeated, prolonged, zand unnecessary institution in
state-run psychiatric hospita|s, and place them at serious risk of such
institutionalization in violation of Tl`l'l'LE 2 of the Americans with Disability

Act of1990 ( the"ADA"), 42 U.S.C.§§ sectioin 12131-13134.

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2. Every day hundreds of adult with imental illness are unnecessarily and
illegally segregated in l\/lississippi's state-ruin psychiatric hospitals or are at
serious risk of entering these institutions `li'hey enter and remain in these
isolating institutions because the State of |\viississippi (”The State”) has failed to
provide them significant community- based N|enta| Hea|th Services. (” Georgia

E||en Head has filed victim to these cruel amd inhumane acts since the late 80's

to hide serious corruption on the Mississi|gpi Gulf Coast and recent since
December 2017."|

3. While confined in these institute adults with mental illness are
unnecessarily cut off from their non-disabled family members friends and
others in the community. (”Georgia E||en Head has been Alienated from her

family and lost her home due to the acts and lies of South Mississigpi_$tate

Hosgita|! Behind the findings of Medicaid fraud.”l

4. By virtue of their institutionalization these adults with disabilities are
deprived of meaningful opportunities of chioice friends, work, or make choices

about their day-to-day activities, such as what and when to eat when to make

a phone call and where to go on a wa|k. (” iGeorgia E||en Head has missed out on
family time and holidays with the fami|v. lNormal activities that take place

every year. lf whoever owns her agrees that she is allowed to call her familv it

may he once a week longest time has beem 30 day without communication
outside the facilities."l

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5. These individuals experience a type of ”[u]njustified isolation” that you
Supreme Court held ”is property regarded .as discrimination based on

disability." Olmstead v. L.C., 527 U.S. 581, 597 (1999)

6. Title 2 of the ADA prohibits the unjustified segregation of persons witl*
disability see 42 U.S.C. § 12132; Olmstead,: 527 U.S. at 597, and require
State and other public entities to ”adminisiter services, programs, and
activities in the most integrated setting appropriate to the needs of qualified

individuals with disability.” 28 C.F.R. § 35.130(d) (2010).

7. Life in an institution leads not only to stigma and isolation, but also
regression, learned helplessness, and physical harm. lt is We|| recognized that
integrated, Community- base services enha nce and support recovery from
mental illness. j"£orgia E||en Head has suffer from serious depression not

being able to be in her own home and wit:h her fami|v!”l

8. |n 2003, the president of the United States put together a committee
tasked with studying the national lVlental Hlea|th Services delivery system and
making recommendations that would enable adult with serious mental illness
to live, work, learn, and participate fully in their communities. The committee
concluded that ”[m]ore individuals could recover from even the most serious
mental illness if they had access to their co mmunities two treatment and
support that are tailored to their needs.” Nlew Freedom Commission on

mental health, Achieving the Proise: Trenslforming Menta| Hea|th Care in

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Americal Final Report 5, Pub No. SMA03-38.31 (2003)

9. |n the Community, individuals have the opportunity to learn and
practice skills that enable independence F urther, people typically prefer to
live in the community, and are more motivated to engage in treatment and

their home. l"Georgia E||en Head has lost motivation and feels hopeless due to

the uniustifiab|e incarceratl)n!"l

10. The State of Mississippi has long recognized that it unnecessarily relies
on institutions and fails to provide significa nt service to enable adults with
mental illness who live in their community. l”Medicaid records will show the

State fails to provide significant Services dlue to the fa_ct, they can make more

money by incarceration of an individual! P|ease see the Medicaid fraud that is

being committed by the local Menta| Heallth providers.”|

11. |n 2008, do Mississippi legislators joint committee on Performance
Evaluation and Expenditure Review (”Peer"’) found that ”[a]|though the
l\/lental Hea|th environment in the United States has dramatically changed
from an lnstitution- based system to a comimunity - based system in recent
years, Mississippi mental health system has not reflected the shift in services
delivery methods." Joint Legislative Commiittee on PEER, Report to the miss.
Legislature No. 511, P|anning for the Deliverv of l\/lental Hea|th Services in
Mississippi: A Po|icv Ana|vsis 1 (2008) Four years ago , the Committee

recommended that ”[t]he Department a |VHental Hea|th and Mississippi State

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Hospitals should gather the appropriate data set regarding the Mental Hea|th
needs of the hospital, the communities, and estate in order for the
development to articulate it's community- base services struggling, design its
implementation process, and reallocate its resources." loint Legislative
Committee on PEER, Report to thelVliss. Legislature No. 593, Staffing of

Psvchologist at the Mississippi State Hospital in a Chaneing Mental Hea|th

Services Deliverv Environment 1 (2015) l”llts 2018 and nothing has changed in
the Nlenta| Hea|th System for Mississippi State Hospitals and the patients that
reside in them. Patients are being held against their will for a_profit of the

facilities state-funded money. Georgia E||en Head has seen this first-handll being

pushed through every single facility that is funded by the Government at the
taxpayers expense. Georgia Allen Head haas been being held against her will

since December 19,2017.")

12. Mississippi continues to concentrate its State spending on Mental
Hea|th on institutional care. (“Without reall Merit of proof.")l“ Georgia Allen
Head has been a victim of the State of Mississippi since the 80’s. The State

makes more money per head that is instit utionalized. While a patient is

institutionalized these smaller Mental Hea|th Communig¢ base facilities can't

commit Medicaid fraud upon the person t hat is institutionalized undetected!”l

Please see all Medicaid statements.

13. |n fiscal year 2015, the Mississippi Department of Mental Hea|th spent

$202.5 million on its State Hospitals, which includes the Mississippi State

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Hospital North Mississippi State Hospital, Efast Mississippi State Hospital, and
South Mississippi State Hospital. lt provided about 25 million in Grants for
intensive Community-Based Services that could be used to divert people from
hospitals to support these individuals in the community that year. (”with over
200 million dollars being spent each ye_ar_ffor the Mental Hea|th State run
facilities, you would think the @tients wouldn’t feel like they were

incarcerated in prison being at these locations."l (“T here is no way the
taxpi\yers money is being spent on Rehabilitation treatment that is effective for
the patient|s|."l

14. Community-based Mental Hea|th Services include psychiatric service,
individual and group therapy, intensive case management, crisis Services, peer
support services, Assertive Community Tre'atment, support employment, and
permanent supported housing. l” Georgia E||en Head had experience veg¢ poor
care an interaction with community-based mental health servicesl via the
reactions of Gulf Coast Mental Hea|th ove rme_ppst years. The interactions with

the state-run facilities try to separate the mentally ill from their families with

alternative in State facilities.”)|"Over the §years with the community-based
Georgia E||en Head was giving maybe 15 minutes of the State workers time and
asked to sign so they can get paid §100 plus for 15 minutes to do nothing in

ggards to her actual Mental Hea|th issues.”l

 

 

15. These Community-Based Services for adults with mental illness already

exists within Mississippi Mental Hea|th Serwices System, but they are not

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provided unfortunately throughout the state system and even where they are
available, they are not available and significant quantities to meet the need.
|” the staff that is sent out for community-lpa_s§g treatment are not educated
and or could care less about each patient'.s individual needs. They are only out
to get their notepad sjgned for payment for 5 to 15 conversation with each

individual patient."|

16. lf administered appropriate|y, th ese Community-Based Services would
be both cost-efficient and capital of meeting the need of adults with
mental illness. (”`l' he local community based Services finds it easier to have a
patient committed to the state rather tham deal with the issues at hand in the
community. lt's also easier for them to coimmit Medicaid fraud and collect more
money for servic¢_as not isspep while patiemts are locked in mental lnstitutes. ln
some cases it seems to be deliberate that the community base facilities
intentionally Lays with a_patient medicatiion enough to ggt_them off-balance to
have them locked away this is been going on for many years”l See Georgia E||en
Head's records from Gulf Coast Mental Hee_\|th gs well as Pharmacy pickup of

medications.

17. The United States seeks to vindicate the rights of adults with mental
illness in Mississippi's state-run psychiatric hospita|s, and those at serious
risk of entering into these institutions. 1“_Let me Stpt¢;again this is 2018 in the
United States has done nothing in regards to the already open lawsuit pgpinst

the state of Mississippi and patients are falling victims to this everydav.”)

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18. These State- run facilities have programs within the facility that
commits Medicaid fraud. Any individual pe rson[s] can be worth anywhere from

$50 thousand to $90 thousand dollars per ion|y a three week stay alone the side

of the State founded money.

19. 2010 Mississippi Code
Tm_E 11 - CIVlL PRACT|CE N\iD PROCEIDURE
ChqtterM-Compenselionmvidimsofwrm\gfml Cmvicttmmrdlnmfmonmem.

11-44-1 - Legislative findings and intent.
Section 1 1-44-1. Legislative findings and intent.

The Legislature finds that innocent persons who have been wrongly convicted of felony
crimes and subsequently imprisoned have been uniquely victimized, have distinct
problems reentering society, and should be colmpensated. ln light of the particular and
substantial horror of being imprisoned for a criime one did not commit, the Legislature
intends by enactment of the provisions of this chapter that innocent people who are
wrongfully convicted be able to receive monetary compensation

Sources: Laws, 2009, ch. 472, section 1, eff from and after Ju|y 1, 2009.

20- Mississippi lGdnapp:neglAbd\mdimn Laws. -.. §-W~&B,‘awsnnisgslitty
dmihewdmmwulauumdymwwamwt§mmemmmedymfom,fmdiy

Mammwmmwwpasm,mv¢mpsmwodmwsm-Mwemwmsevwnwbe

confined or imprisoned against his or her wil|.

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21 . 2013 Mississippi code
Title 97 - chMEs
chapter 7 - chMEs AGAINST sovERElGNTY oR
AoMiNisTRATloN oF eovERNMENT
§ 97-7-10 - Fraudulent statements and representations

Uniyersal Citation: MS Code § 97-7-10 (2013)

(1) Whoever, with intent to defraud the state or any department agency, office,
board, commission1 county, municipality or other subdivision of state or local
governmentl knowingly and willfully falsifies, conceals or covers up by trick, scheme or
device a material fact, or makes any false, fictitious or fraudulent statements or
representations or makes or uses any false waiting or document knowing the same to
contain any false, fictitious or fraudulent statement or entry, shal|, upon conviction, be
punished by a fine of not more than Ten Thoulsand Dollars ($ 10,000.00) or by
imprisonment for not more than five (5) years, or by both such fine and imprisonment

(2) This section shall not prohibit the prosecution under any other criminal statute of

the state.

22. 2013 Mississippi code
Titie 97 - cRn\/lEs
chapter 3 - cRiMEs AGAleT THE PERsoN
§ 97-3~54-4 - Anti-Human Traflicking Act; definitions

;_h!nitstsaii;§iatis!s:MS:C-ode§steamrefit$r

For the purposes of Sections 97-3-54 through 97-3-54.4, the following words and

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phrases shall have the meanings ascribed herein unless the context clearly requires
otherwise:

(a) "Actor“ means a person who violates any of the provisions of Sections 97-3-54
through 97-3-54.4.

(b) "Blackmail" means obtaining property or things of value of another by threatening to
(i) inflict bodily injury on anyone; (ii) commit any other criminal offense; or (iii) expose
any secret tending to subject any person to hatred, contempt or ridicule.

(b) "Commercial sexual activity" means any sex act on account of which anything of
value is given to, promised to, or received by any person.

(c) "Financial hann" includes, but is not limited to, extortion as defined by Section
97-3-82, Mississippi Code of 1972, or violation of the usury law as defined by Tit|e 75,
Chapter 17, Mississippi Code of 1972.

(e) "Forced labor or services" means labor or services that are performed or provided by
another person and are obtained or maintained through an actor:

(i) Causing or threatening to cause serious harm to any person;

(ii) Physica|ly restraining or threatening to physically restrain any person;

(iii) Abusing or threatening to abuse the law or legal process;

(iv) Knowingly destroying, concealing, removin g, conflscating or possessing any actual
or purported passport or other immigration do¢cument, or any other actual or purported
government identification document, of another person;

(v) Using blackmai|;

(vi) Causing or threatening to cause financial fuarm to any person; or

(vii) Using any scheme, plan or pattern intended to cause any person to believe that, if

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the person did not perform such labor or services, that person or another person would
suffer serious harm or physical restraint

(f) "Labor" means work of economic or financial value.

(g) "Maintain" means, in relation to labor or serrvices, to secure continued performance
thereof, regardless of any initial agreement on the part of the trafficked person to
perform such labor or service.

(h) "lVlinor" means a person under the age of eighteen (18) years.

(i) "Obtain" means, in relation to labor or services, to secure performance thereof
(j) "Services" means an ongoing relationship between a person and the actor in which
the person performs activities under the supervision of or for the benefit of the actor or
a third party. Commercial sexual activity and Sexually-exp|icit performances shall be

considered services under Sections 97-3-54 tfnrough 97-3-54.4.

(k) "Sexually-explicit perforrnance" means a live or public act or show intended to
or satisfy the sexual desires or appeal to the prurient interests of patrons.

(l) "Trafficked person" means a person subjected to the practices prohibited by Sections
97-3-54 through 97-3-54.4 and is a term used interchangeably with the terms "victim of
trafficking" and "trafficking victim."

(m) "Venture" means any group of two (2) or miore individuals associated in fact,
Whether or not a legal entity.

(n) "Sexua||y oriented material" shall have the meaning ascribed in Section 97-5-27,
Mississippi Code of 1972. (“Holding Georgia E||en Head in State-run facilities is a
form of human trafficking. Due to the back the state is receiving government-

funded money to do so off of the taxpayers back”) This is a serious issue in the
state

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of Mississippi as well as in the whole United States.

Jurisdiction Andl Venue

23. The court has jurisdiction over thiis action under Title ll of the ADA, 42
U.S.C. section 12133, and 28 U.S.C section 1331, 1345. The court may grant
sought in the action pursuant to 28 U.S.C section 2201-2202. The United States
has the ability to seek a remedy for violations of Title ll of the ADA, 42 U.S.C.
Section 12133~13134; 28 C.F.R. section 35.§170-174, 190(e).

24. The United States is authorized t:o initiate this action pursuant to the
Civil Rights of institutionalized Person Act of 1980 (”CRlPA”), 42 U.S.C.
section 1997.

25. The attorney general has certifieid that all pre-filled requirements
specific in 42 U.S.C. section 1997 B have been met. The Certificate of the
Attorney General is appended to this Comp|aint as Attachment A and is
incorporate herein. (“ The Attorney General has failed Georgia Ellen Head and
her da_ughter with complaints that serious abuse is still in Lactice at these
State-run facilities, they have allowed the abuse to continue for 10 months. The
Attorney General has failed to honor Geou'gia E||en Head's Rights as a human
being, and as a Mental Hea|th patient that is ha_vi_ng her Rights Violated on a

Daily basis.. All for The State run facilities to continue to collect state-funded

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Money while defrauding the Government and the Taxpayers that split this

bill."j

26. Venue is proper in the district pursuant to 28 U.S.C Section 1391(b),
given that a substantial part of the act and omissions given rise to this action

occurred in the Southern District of Mississippi.

PART|ES

27. Plaintiff is Georgia E||en Head ~ Angela Ward

28. Defended State of Mississippi, is a ”pubfic entity” im"thin the meaning of
the ADA, 42 U.S.C. section 12131(1), and is. therefore subject to Title || of the

ADA, 42 U.S.C. Section 12131 et seg., and fits implementing regulations, 28 C.F.R.
pt. 35.

29. The State of Mississippi owns amd operates four psychiatric hospital,
which are institutions under the meaning of 42 USC section 1997(1). The State

administers and phone services for adults with mental illness through various

private agencies and departments

30. Mississippi Department of Medicaid manages the State's l\/ledicaid

Program, which include coverage of Mental Hea|th Services to Medicaid- enrolled

adults with mental illness.

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31. Mississippi Department of Mental Hea|th is the state agency

responsible for providing Mental Hea|th Se rvices to the citizens of Mississippi.

32. As part of its mental health system, the Department of Mental Hea|th
provide State funding, state ran psychiatric residential services for adults

with mental illness at 4 psychiatric hospitalls and one resident Center.

33. The Department of Mental Hea|th also regulates, overseas, and
provides funding for community-based me ntal health services for adults with

mental illness.

34. The Mississippi home corporation was created by the Mississippi horne
corporation Act of 1989 to address affordable housing needs in Mississippi. The
Mississippi horne corporation is Mississippi's design Housing Finance Agency and
its responsibility for developing private and public partnership throughout the
state to increase affordable housing stock, including for adults with mental
illness. The Mississippi home corporation is responsible for implementing the
State's integrated permanent Supportive l-liousing program. See housing bill No.

1563 (2015).

STATUTORY AND REGULATOR BACKGROUND

35. Congress elected the ADA in 1990 ” to provide a clear and

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comprehensive Nationa| mandate for the elimination of discrimination against
individuals with disabilities [.]" 42 U.S.C. section 12101 (b)(l). lt found that
” historical|y, society has tended to isolate and segregate individuals with
disabilities, and, dispite some improvemenits, such forms of discrimination
against individuals with disabilities continue to be a serious and pervasive social
problem [.]” 42 U.S.C. section 12101 (a)(2). lt further found that ”discrimination
against individuals with disability persist in institutionalization... and across to
public services[,]” 42 U.S.C. section 12101 i(a)(3), and that " individuals with
disabilities continually encounter various forms of discrimination, including
outright intentional exclusion..., segregatio n, and relegation to lesser services,
programs, activities, benefits, jobs, or othe:r opportunities [.]" 42 U.S.C. section

12101(3)(5).

36. Congress concluded that " the national proper goals regarding
individuals with disabilities are to assure quality of opportunity, full participation,
|ndependent Living, and economic self-sufficient for such individua|s" and " the
continuing existence of unfair and unnecessary discrimination and prejudice
denies people with disability to opportunity to complete on an equal basis and to
pursue these opportunities for which are free Society is justifiably famous, and
cost the United States billions of dollars an d unnecessary expenses resulting for

dependency and non-productivity." 42 U.S .C. section 12101 (a)(7)-(8) (2008).

37. For these reasons, Congress prohibited discrimination against

individuals with disabilities by public entities: "[N]o qualified individuals with a

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disability shower, the reason of such disabii|ity, be excluded from participation
and or be deny the benefits of the services, programs, or activities of a public

entity, or be subject to discrimination by amy such entity." 42 U.S.C. section
12132.

38. Title ll of the ADA prohibits discrimination on the basis of disability by
public entities. This encompass the State olf Mississippi, its agencies, and
it's Community lVlental Hea|th Systems, because a ” public entity” includes
any state or local government, as well as ainy Department, agency, or other
instrumentality of a state or local government, and it applies to all services,
programs, and activities provided or made available by public entities, such
as though contractual, licensing, or other arrangements 42 U.S.C. section

12131 (1) and section 12132.

39. Congress decided the Attorney General to issue regulations
implementing Title ll of the ADA. 42 U.S.C. Section 12134. The title ll regulation
requires public entities to ” administer Senvices, programs, and activities in the
most integrated setting appropriate to the needs of qualified individuals with
disability.” 28 C.F.R. section 35.130(d). The preamble discussion explains that
”the most integrated setting” is one that " enables individuals with disabilities to
interact with non disabled persons to the fullest intent possible [.]" 28 C.F.R. pt.

35, App. B (2011).

40. Regu|ations implementing Title lll of the ADA feather prohibits public
entities from utilizing " criteria or method of administration" ”[t]hat have the

effect of subjecting qualified individuals with disabilities to discrimination” or

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”[t]hat have the purpose or effect or defeating or substantially impairing
accomplishment of the objectives are the public entities program with reject to

individuals With disabilities [.]" 28 C.F.R. section 35.130(b)(3); Accord 45 C.F.R.
Section 84.4(b)(4) (Rehabilitation Act).

41. ln Olmsteadl D Supreme Court affirmed that Title ll prohibits the
unjustified segregation of individuals with disabilities The court explained that it
holding ” reflect two evident judgment." 527 U.S. at 600. ”First, institutional
placement of person who can handle and benefit from community settings
perpetuates unwarranted assumption that persons so isolated are incapable or
Unworthy of participating in community |ife." g ”Second, confinement in an
institution severely diminishes the everyday life activities of individuals, including
family relations, social contact, work oppoirtunities, economic independence,

emotional advancements, and cultural enrichment." l_Q at 601.

42. Under O|mstead public entities are required to provide Community

 

Based Services when (a) set services are appropriate (b) the affected persons do
not oppose community-based treatment, and (c) Community based Services can
be reasonable accommodated, talking into account the resources available to

The Entity and needs of other persons with disabilities. _|L At 607.

43. CRlPA prohibits the United States to initiate actions to violate the rights
of individuals confined to psychiatric institutions, owned, operated, or managed
by a state, who have been deprived of thei r Statutory rights. g 42 U.S.C.

section 1997

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FlNAL AC Ul.SlTIONS

A. STATE HOSP|TALS ARE SEGREGATED. lNST|TUTlONAL SETT|NGS

40. Mississippi operate for costly, pu blicly funded psychiatric hospitals
located throughout the state: he Mississippi State Hospital, North Mississippi
State Hospital, East Mississippi State Hospital, and south Mississippi State
Hospital ( collectively ” the state hospita|s"').

41. The state hospitals are segregated, institutional settings that do not
enable individuals living there to interact With non disabled persons to the fullest
extent possible. Wow come find in these institutes, individuals are deprived of
meaningful opportunities, such as the opportunity to choose friends, participate

employment, or make choices about activities, food, or living arrangements

42. individuals reside in the State Hospital live in close quarters with other
persons with disabilities They are assigned to small hospital rooms, often with

roommate did not choose.

43. The state hospital for as little opportunity for individuals with disability

to interact with individuals without disability, apart from hospital staff.

44. individuals living in the state hospital have very little authority over
their daily lives most aspects of their daily llives are regimented and limited by

rigid rules and inflexible practices. These ruiles and practices include rates

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restrictions Rockford meal times, limited on the ability to have visitors, and limits
on travel outside the facility. As a result, m-ost aspects their daily lives are
controlled by the institutions and they have little authority, privacy, or

meaningful opportunities to participate in the community.

45. Physica|ly, the state hospitals are isolated from the general
community--they are secluded on large tracts of land and cut off from towns,
restaurants, stores, and public transportation, enjoyed by the broader

community.

46. .For instance, he Mississippi State Hospital, established in 1855 and
originally known as the Mississippi State luinacy Asylum, is located on a 350 acre
camp in Whitfield, Mississippi the state of a former state penal colony. The
campus consists of over a hundred and thirty buildings and has its own Campus

Po|ice Department,
47. The Mississippi state hospital employs approximately 1750 employees

48. The East Mississippi'$tate Hospital, located in l\/leridian, employs
approximately 1130 employees lt was fouinded in 1882 and was originally known

as the East Mississippi insane Asylum,

49. The North Mississippi State Hospital, located in Tupelo, the South

Mississippi State Hospital, located in Purvis, or built recently. He North

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Mississippi State hospital opened in 1999 amd the south Mississippi State Hospital
in 2000. Each of these hospitals employees over a hundred full-time staff to cover

its 50 beds.

B. Thousands of Mississippians and Cycle in and out of State Hospitals Each
¥ear

50. Thousands of adults with mental illness in Mississippi needlessly cycle

in and out of the state hospitals each year because they do not receive the

support they need in the community.

51. These individuals receive care in a hospital setting away from families,
friends, and other natural support, then return to their communities where they
often get no or insignificant treatment, their symptoms get worse, they

experienced a crisis, and they returned to the hospital.

52. Not including forensic beds, the S-tate Hospital have about 500

psychiatric beds Collectively, they serve approximately 3,300 adults per year.

53. The average length of stay in the short-term unit of the state hospital is

45 days

54. Repeat admission to the short-term units of the state hospitals are
common.

55. One 27 year old man admitted to the Mississippi State Hospital on

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randomly should l take de in lVlarch 2015 h ad 22 Pryor and missions to the
hospital. individuals with patient needs cycle through the state hospital over and
over again, to say nothing of admissions to' local emergency rooms, provide
psychiatric hospitals and jails. (”GEORG|A ALLEN HEAD has cycled in and out

these facilities more than the 27 year old man.”)

56. For example, over 55% of the 206 adults in the short-term unit at the
l\/lississippi State Hospital on a randomly so like today in 2014 had three was he
been admitted two or more times, and more than 11% have previously been

admitted more than 10 times

57. Remissions typically result from insignificant services in the community
and inadequate coordination between treating Professionals in facilities and

those who support the individuals when th ey are in the community.

58. lVlany individuals who are admittedl to a state hospital or first held at a
local acute Psychiatric Hospital, crisis stabillization unit, jail, or holding facility
while awaiting a placement at a State hos Hospital, lengthening the overall time

spent in an institutional setting.

59. The state often fails to ensure that: there is a plan for providing services
and support in the community that will meet the individuals needs and prevent
readmission to the state hospital. Community Mental Health Cinders or core

providers supporting people with mental i||lness when they return to the

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community, yet they often are not involved in treatment and discouraged
planning. Other than scheduling a few follo)w-up appointment for the individual
at the local provider, there is typically minimal coordination between the state
hospital and the local provider. (” in the matter of Georgia E||en Head the local
providers outside of the State ho HJosphl commit Medicaid fraud while patient
is in the state facility from 50,000 to 90.0010 while the patient is in the State

Bci|ity less than 4_5_days.”l

C. individuals in the Mississippi State hospitals long-term unit remain there
for years

60. Over 100 individuals were institutionalized in the Mississippi State

Hospital long-term units in fiscal years 201-4. (" Georgia Allen Head since 1999
she has spent multiple years locked away in the asylum at Whitfield.”j

61. The average length of stay that year for individuals in the Mississippi
State Hospital long-term unit was over 7 years. One individual was admitted to
the Mississippi State Hospital in 1959, at tl'ne age of 20, and remain there over 50

years, at least until 2015.

62. individuals dually- diagnosed with mental illness and an intellectual or
developmental disability he's been years in a state hospital due to the lack of

Community Based Services to meet their needs

63. Some of these individuals who hadi been institutionalized at the

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to come home on her medication Decemb)er 8th of 2017”1

66. Mississippi State Hospitals failed tio offer appropriate treatment and
discharge planning necessary to successful ly transition individuals to the
community. lust charge plans are frequently boilerplate and disconnected from
the skills individuals need in order to live ini the community. (”Georgia E||en Head
has lost her house in Mobile Al due to thei fact she has been ran through all the

State Hospitals so the could collect state-funded money and Medicaid fraud!")

D. Mississippi Administration of its Serwice System has Canceled
Unnecessary Segregation of lndividuials in State Hospitals and Place
Others at Serious reRfsk of Unnecessary institutionalization
67. Through the Mississippi division of Medicaid and Department of Mental

Health, the state determines what services will be provided, where services will
be available, how services will be funded, Who will be eligible for services, how

service quality will be evaluated, and what providers are permitted to offer the

service,

68. The Mississippi Department of Mental Hea|th funds and operates the

State ho Hospitals,

69. Mississippi Department of Mental Hea|th and division of Medicaid plan
contracts, found, regulates and oversees t:he community mental health system

that provides community-based alternative to the State Hospitals

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Mississippi State Hospital have been placed in a nursing facility on the same
grounds at the State Hospita|. ( ” Due to the lack of communication the family of

Georgia E||en Head are unaware of where she is placed within the faci|ig and
why!”j

64. While the state has reduced the number of long-term beds at the state
hospital, it has simultaneously transferred imany individuals to other long-term,
segregated settings including other state ran facilities, nursing facilities, and
Persona| Care Homes. lt has also discharged individuals from the state hospital
to homelessness and other unstable environments (” due to the fact of these
facilities helm my mother against her will for almost 10 months they have

made her lose her house with no regard. llt has been stated that she not

allowed to have a house buy multiple staff at the facilities and conservator!"j

65. Other individuals Were discharged to the central Mississippi residential
Center, a state-funded residential behavioral health program for adults with
mental illness that looks much like a state lhospita|. The Center consists of
multiple buildings on an isolated campus in Newton, Mississippi with a capacity
to serve 68 individuals at a given time. The average length of stay at the center is
545 days; however, several individuals havce lived at the center for 5 years or
more, many of whom actually spend much of theirlives and a State Hospita|.
(”Georgia Allen Head has been ran thMg;h all the State facilities and held
against her will now for almost 10 months st_raight. After family was told she

was stable

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70. The state office community-based Mental Hea|th Services primarily
through 14 Regional Community Mental Hea|th Centers (”ClVlHCs”). The ClVlHCs
are principal service provided With whom the Mississippi Department of l\/lental
Hea|th and the division of Medicaid contract of furnish a range of community-
based mental health and substance abuse services to persons with disabilities
including mental illness The l\/lississippi Department of Mental Hea|th is

responsible for certifying, monitoring, and assisting me ClVlHCs.

71. The ClVlHCs are required to offer certain mental health services, including
Psychiatric Services, individual and group tlherapy, community-based support
service, prices Service, and peer support service. Some Cl\/|HCs also offer more
intensive services, like Assertive Communitty treatment, supported employment,
and residential services in addition, Department of Mental Hea|th pays the

C|VlHCs to conduct free screening evaluations to determine whether individuals

are eligible for admission to a state hospital.

72. Department of Mental Hea|th and division of Medicaid exercise control

over the availability and quality of Community Mental Hea|th Services in the

State.

73. The Mississippi division of Medicaid establishes the Medicaid services
that will be available, defines the purpose of these Services, defines limits on the

services and gauges in utilization contro|, and determines the rate of those

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services

74. The Mississippi Department of Mental Hea|th certifies each ClVlHCs prior
to it's selection as the designated provider,, promulgates operational standard for
all CHMCs, conducts reviews of CMHC operrations, Awards grants funds to
support specific community services, and requires financial and performance

reporting.

75, Numerous policies, practices and actions by the state, including the
Mississippi Department of Mental Hea|th Division of Medicaid, had led to the
unnecessary segregation of individuals Witlh mental illness and state hospitals and
placed many other individuals with mental illness at serious risk of
institutionalization. Despite being aware thaat the unnecessarily relies on an
institution model to serve individuals with imental illness, he state continues to
discriminate against people with mental il|mess by failing to provide significant,
integrated community-based Mental Healt;h Services consistent with their
individual needs lt has done so primarily b'y : (1) failing to provide significant
community-based Mental Hea|th Services throughout the state and (2)
concentrating funding and it State hospitals rather than Community Based

Services

i. The state sales to provide significant communig-based Mental Hea|th

Services thr¢)pghout the state.

76. The state recognizes the Community Based Services, including

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Psychiatric Services, individual and group therapy, intensive case management,
crisis Services, peer support services Assertive Community Treatment, supported
employment, and permanent supported housing promote positive outcomes and
prevent hospitalization among persons with serious mental illness Seel e.g.l
Mississippi Department of Mental Health, 'il'hink Recovery Newsletter 1, 6~7
(2015), available at http://www.dmh.ms.gov/wocontent/upioads/2015/09/MS
-|VlS-Recoverv-Recovery- Newsietter- Sumrner-2015. PDF (iast visited lanuary 13th
2016). individuals with mental illness living in the community may need one or
more of these Community Based Services at any given time to avoid unnecessary
hospitalization. Yet to State those two significantly provide community-based
l\/lental Hea|th Services, for tickly and certain Geographic areas of the state,
leaving thousands of people who are in the state hospital or at serious risk of
entering these hospitals without the ability to access needed community-based

treatmentl

77. in fiscal year 2015, nearly 5,500 individuals were screen for non- forensic
Admissions and about 3,300 were ultimate ly placed in a state hospital. IViore
individuals could be converted from Cos'd\/,, Segregated institutional placement at

the state hospital NC State increases the ability of Community Based Services.

78. Crisis services are a critical part of a successful Community Mental Hea|th
Services because effective crisis profession als can divert individuals from
institutionalization and Link them quickly tro need it Community Based Services.

For instance, lVlental Hea|th clinicians offering mobile crisis Services go into the

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community to meet individuals at the site of a crisis and offer interventions to
prevent hospitaiization. Crisis professional can also work closely with law
enforcement to help divert individuals frorn arrest and incarceration or civil

commitment

79. The State acknowledges that ” [W] Without mobile Crisis lntervention,
someone experiencing a mental health crisis may end up in a hospital, inpatient

|l)
-

psychiatric program, a holding facility or even a jai Mississippi Department of
Mental Health, Mississippi Profile 9 (2015).. Avaiiable at http:]-,"www.tmh_orng_
gov/wp-content/uploads/2015/03/l\/lississiippi-profiie-winter-and-spring-2015.

PDF (last digit _ianuary 13th 2016).

80. The state, however is not ensuring that Dee critical face-to-face
interventions are uniformly available two iindividua|s in crisis across the state.
While one Cl\/iHC reported over 3,000 face-to-face mobile crisis interviews and
fiscal year 2015, another ClV|HC, with a nearly identical regional population,

reported fewer than City face-to-face interviews all year.

81. Assertive Community Treatment (‘”ACT”) is another critical community
baseda| Hea|th Service that is not significantly available in
Mississippi. it is an intensive team-based treatment model that provides
multidiscip|inary, flexible treatment and suipport to people with mental illness to
increaseincrease integration and prevent hospitalization Substance Abuse and

Mental Hea|th Services Adrninistration, Assertive Community Treatment: Bui|ding

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Your Program 5, Pud.No.SMA08-4344 (2008).

82. The state recognizes the importance of ACT and helping individuals with
serious mental illness remain stable and th ey community and void unnecessary
institutionalization period a Mississippi Department of lV|enta| l-iealth press
release about the states ACT program stated, ”[i]n the four years DlVlH has had
[ACT] teams operating, they have been ext:raordinary successful in helping
individuals and Recovery by ensuring they -can stay and participate in the
communities of their choice.” Further elaborating on the success of the program,
the Department of l\/lental Hea|th Executivce Director, Diana Miku|a, stated, ”
Recovery not only benefits the individual, it benefits the entire community...
Evidence-based program such as [ACT] Teaims are essential kids keep individuals
in the community and help them continue on the road to recovery” Mississippi
Department of Mental Health, Mississippi Expand Program of Assertive
Community Treatment Teams, available ait:http://www.dmh.msgov/Mississippi-

expend- program-of-assertive-Community-treatment-/ last Thursdayianuary

 

13th, 2016).

83. in spite of the recognition comedy-' state only offers ACT services in about
half of its 14 community Mental Hea|th Region Statewide, and the existing team

survey very small number of individuals

84. ACT kings are designed to serve between 80 to 100 individuais each, so

the existing teams could serve between 6410 and 800 individuals while

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implementing the services with fidelity to t:he evidence-based model. Due to poor

implementation of the service, the teams remain underutilized.

85. in fiscal year 2015, the state served only 189 people with ACT through its

8 Teams, despite the overwhelming need f`or the service.

86. The absence of ACT conspiracy is particularly palpable in the iackson
area. Hinds in Rankin County's, covering th~e lackson metropolitan area, send
more people to state hospital for treatment than any other counties in the state
of Mississippi; in fiscal year 2015, 307 people from Hinds County and 206 people
from Rankin County where is served in the state hospitals Together the two
counties account for about 17% of the peojple served in the state hospitals yet
neither counties had and ACT team until 2015. (” HARR|SON |-|_ANCO(_ILAND
JACKSON COUNTY HAS SER|OUS lSSUES WHEN lT CON|ES TO TREATMENT AND
KEEP|NG THE|R PAT|ENTS OUT OF HOSP|TALS. lT HAS BEEN FOUND THAT THE

""GU|.F £OAST M§NTAL HEALTH FAC|L|T|ES COMM|T MED|CA|D FRAUD ON THE|R
PATlENTS THAT ARE COMM|TI`ED TO THE STATE FAC|L|T|ES!”|

87. An A€'F team was established in Hinds County in 2015, but because it's
only served 17 individuals it had little impact on reducing the number of State

Hospital admissions No. ACT team service Rankin County.

88. The state has begun to establish a certified peer support program through

Which individuals who have lived in Mentall illness assist others with mental

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illness to increase resiliency, manic symptoms build community living skills, and
work Ford recovery in order to live integrated lives in the community and avoid
hospitalization The state recognizes that pierce support can be just as valuable

as other professional team services for people with mental illness

89. Peer support services are not significantly available throughout the state,
however, in fact, two of the CMHC regions each employ only a single Pierce
support specialist. Over 450000 people live in the 14 counties served by those

CMHCS.

90. Permanent supportive housing is another service that enables people with
serious mental illness to avoid hospitalization As its name implies, permanent
support housing is (1) permanent, meeting ”tenants may live in their own home
as long as they meet the basic obligations of tenancy [;]” (2) supportive, meeting
”tenants have access to support services thiat they may need and want to retain
housing" and (3) housing, meeting " tenants have a private and secure place to
make their home, just like other members of the community, with the same
rights and responsibilities." Substance Abu se and Mental Hea|th Services
Administration, Permanent Supportive Housing: Building Your Program 1, Pub
No. SMA - 10-4509 (2010)

91. The state recognizes he needs for permanent support housing as an

effective evidence-based services for individuals with serious mental illness that

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enables people to live integrated lies in the community and avoid
institutionalization. See Technical Assistance Co|laborative. A Statewide Approach

For integrated Supportive Housing in Mississippi 1-3 (2014); House Bill No. 1563
(2015)

92. the state of knowledge is, however, the significant payment support
housing is not available in Mississippi to meet the needs of persons with mental
illness The state calculates that over 7,000) people are candidate for permanent
support housing, and that it would need to provide at least 2900 slots to meet
the national rate of permanent supportive housing availability. Still, the state has
provided funding for what they estimate will support only 200 payment support
housing slots for financial year 2015 and 2016. See House Bill No. 1563 (2015),

93. The insufficiency community service coupled with inadequate State
Hospital discharge planning places people at serious risk of readmission to a State
Hospital. individuals are frequently discharged from a state hospital without
significant Community Support in place and to inappropriate housing, such as
homeless shelters For instance, in financial year 2014, at least 56 individuals

were discharged to homelessness.

94. Mississippi failure to develop a significant high quality supply of
Community based Services and failure to conduct adequate discharge planning

from each state hospitals for the community forces individuals mental illness to

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obtain necessary services at inappropriate and costly venues, such as emergency

rooms, jail and psychiatric hospitals

ii. The State fails to find sufficient Community based Services and instead

focuses funding on institutional settings

95. The State reliance on institutional care is reflected in it's spending.

96. in spite of the challenging financial environment, he state has
continued to concentrate funding on costly institutional care at State facilities
when it good provide appropriate, expensive services in the community and

share the cost of many of the services With the federal government

97. Virtual|y all of the cost of the state facilities are paid for with state
general funds When the state provides community alternatives though it's
Medicaid Program, however, the federal government provides matching
funds; the federal government pays for 73% of all Medical expenditures in
Mississippi. Federal Medicaid dollars are not available to fun inpatient
psychiatric Services for adult under 65 icn the state hospital, but would be
available to all Medicaid beneficiaries receiving eligible community-based

services

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98. in financial year 2015, the Mississippi Department of Mental Hea|th
spent 200 and 2.5 million on the state h ospitals. in addition to the State
Hospitals, the State has concentrated resources in it 68 bed Central
Mississippi residential Center and financial year 2015, the State spent 5.8

million to operate that Center.

99. The State reports that they cost of one individual in the state hospital
is over $470 per day on average. Based on the CMHC Biiling Guidelines, the
approximate cost of the State ( minus the federal portion) to serve Medicaid
eligible individuals with the most intensive needs who instead receive ACT in the

Community is approximately $30 per day. And many individual served at the state
hospital will not need the most intensive and most expensive Community based

services in order to avoid unnecessary hospitalization

100. Mississippi Legislator's Joint Committee on Performance Evaluation
and Expenditures Review Committee reported in 2008 that, generally, institution-
based Services cost more per client then Community based Services and that the
State focus on institution-based care " represent a much more expensive service
delivery model than does community-based care.” Joint Legislative Committee on
PEER, Report to the l\/liss. Legislature No. 5'11, Pianning for the Delivery of

iVlental Hea|th Services in Mississippi: a Policy Analvsis 55 (2008).

101. The State recent spending on newi facilities in the East Mississippi State

Hospital is another example of the significant investment in the State Hospitals

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in the last few years, the State has funded several new buildings at East
Mississippi State Hospital, With the newest one currently under construction in
2014, the state open a new $7 l\/iil|ion dining facility. The state is currently

spending $14 l\/li|lion to build a brand new 60 bed unit and a central mechanical

building.

102. Even though these State modified its Medicaid State Plan in 2012 to
make some critical community-based Menital Hea|th Services Medicaid
reimbursab|e, including mobile crisis, ACT, and peer support, the services are still
not being offered in sufficient quality. For instance, in financial year 2014,
Medicaid only reimbursed providers for serving 60 people with ACT and 533
people with peer support, Yet offering these Medicaid reimbursable Services

makes economic sense given the federal government matching funds

103. Mississippi credit serve individuals with mental illness in the
community by maximizing existing resources-both by redirecting spending from
segregated, institutional settings to community-based programs and 5 fully

implementing the State Medicaid State Pla n service.

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E. Mississippi is Aware That it Unnecessary Relies on institutional Settings
and has (NOT) Taken the Action needed to Remedy the Violations of Law

104. The state has long been aware of the failure of the mental health
system. in recent years, Mississippi has rec:ognize, and reported on, these dates
significant reliance on institutional care to serve persons with disabilities

including mental illness

105. in 2008, the Mississippi Legislator’s PEER Committee issued a
comprehensive report that concluded that the Board of Mental Hea|th has not
focused on developing adequate community-based programs and reallocating
resources to meet the engagement needed a person with mental illness in
Mississippi. Joint Legislative Committee on PEER, Report to the Niiss. Legislator
No.511 , Planrm\_g for the Delivery of Menita| Hea|th Services in Mississippi: A
Policy Ana|ysis 54-56 jZOOSj . The PEER Coimmittee concluded that Mississippi

was out of step With national trends and was failing to meet the needs of persons
with disability in integrated Community settings M. at 1 ( ”Aithough the mental
health environment in the United States has dramatically changed from an
institution base system to a community-ba:sed system in recent years, Mississippi

mental health system has not reflected in shift and service delivery methods.").

106. The PEER Committee recognized that, due to the ADA and the Olmstead
decision ”the state will be forced to move towards providing more Community

based care in the near future."

M. The PEER Committee concluded that the state was not in a good position to

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address outstanding issues because the Mississippi board of Mental Hea|th ” has
not aggressively sought plan for reallocation of resources to meet emerging
needs in addition to efforts to seek additio nal finding to meet these

needs ..... [thus,] allowing the development of community oriented programs cue

ball behind.” |_cl_.

107. |n lune 2014, the PEER committee again found that the state has
missed opportunities to provide Community based Services. in a report related to
the closure of the Mississippi State Hospitals Community Service Division, the
PEER committee noted that the Departmemt of Mental Hea|th redirected
resources from the closure of community-based programs into the state
hospitals thus ”forgo[in] the opportunity to redirect the resources yielded from
closure of the [community services] divisio n into providing community-based
mental health care." Joint legislative Committee on PEER, Report to the Miss.
Legislator No. 584 A Review of the Closure: of the Mississippi State Hospitals

Co[pmunig Service Division vii (2014).
WE ARE AT THE END OF 2018 ANQ TO TH|S QAY NOTH|NG HAS BEEN DONE!

108, in a iViay 2015 report, the PEER comimittee again reiterated that”
Mississippi will be forced to move toward providing more community-based
i\/iental Hea|th care and the near future" and recommended that ” [t]he
Department of Mental Hea|th and Mississippi State Hospital should gather the
appropriate data setting regarding the mental health needs of the hospital, the

communities and East 8th in order for the Department of agriculture it's

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Community based Services strategy, design it's implementation process and
reallocate it's resources.” ioint Legislative Committee on PEER, Report to the
l\/liss. Legislator No. 593, staffinng p_sychologist at the Mississippi State

Hospital in a changing Mental Hea|th Service Delivery Environment 1 (2015)

WE ARE AT THE END OF 2018 AND TO THlS» DAY NOTH|NG HAS BEEN DONE!

109. As early as 2001, the state acknowledged the need for significant change
and it's Olmstead Plan. The Olmstead Plan,, develop in conjunction with various
stakeholders, was entitled Mississippi Acce-ss to Care (”l\/iAC"), and was
submitted to the Mississippi legislator on September 30, 2001. Mississippi Access

to Care Plan (2001), available at https://www_medicaid.ms.goy/wp-
content/uploadsj2013/12/l\/|AC 2001Pian.pdf (` last visitedlanuary 14th 2016).

The overall stated purpose of the plan was to “ create an individualized p service
and support system that enables individuals with disabilities to live and work in
the most interested setting of (”THEY ARE CHOICE”!. |T lS OUR VlSlON THAT ALL
i\/llSS|SSiPP|ANS WlTH Di$ABli_|TlES W|Ll_ HAVE THE SERViCE AND SUPPORT
NECESSARY TO L|VE |N THE lleST APPROP§R|ATE AND |NTEGRATED SE`|'|'|NG

POSS|BLE.” get 9

THIS lS THE END OF 2018 AND NONE OF Tl~!IlS HAS BEEN lVlET BY THE STATE OR
ANY OF THE FAC|LlTlES lNVOLVED

110. Among the many changes that the plan identified as necessary to realize
this vision were the development of commiunity housing alternative 4 / 1,000

adults With serious mental illness, the explanation of these states supported

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employment program, and the explanation of individual case management § at
22,28,39.

111. After 10 years in which the state did: not engage in any meaningful
Olmstead planning, the State launched MA\C 2.0 in 2013. |VlAC 2.0 is

approximately an umbrella for work groups related to suspended specific Federal

Grant programs

112. The first and only implementation report explained the while some
agencies were attempting to implement thze reforms identified in the States
Olmstead Plan, he state had not funded thel plan and this made full

implementation impossible. I\/|AC |mplementation Report #1 5 (2003).

113. The l\/|AC 2.0 initiative has not resulted in a reversed Olmstead Plan. Se_e
Mississippi Division of Medicaid, Mississippi Access to Care (l\/|AC) 2.0 available at
h ttg:¢[wwwmedicaid.ms.gov/missr'ssippi-access-to-care-mac-Z-O/ (last visited

Jonuary 14th 2016).

114. The Department of lVlenta| Hea|th's current strategic plan also recognizes
that expansion of Community based Servic\es and support is critica|. The strategic
planl is aimed to “ moving toward a community-based surface system.”

Mississippi board of Mental Health, FY16-FY18 DI\/lH Strategic Plan 1.

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115. He goes in the current plan highlights the continued need for reform. The
plan calls for providing support in the community ” to prevent out-of-home
placement [;]" ensuring access two crisis Services to ” divert individuals from
more restrictive environments such asjail, lhospitalization, ECT [;]" providing
adults with serious mental illness access to ”appropriate and affordable housing
[;] and using peer support to ” assist individuals in regaining control of their lives
and their own recovery process [.]" |_d_. at 8.

The state of Mississippi intentionally made Georgia Allen Head lose her home in
A|abama Mississippi!

116. NEARLY 18 years after development the State’s Olmstead Plan, the State
still is not meeting the obligations under t|'ue ADA to serve adults with serious

mental illness in the most integrated setting appropriate.

F. lNDIVlDUALS WlTH MENTAL lLLNESS lN STATE HOSP|TALS OR AT SER|OUS
RlSK OF HOSP|TAL|ZAT|ON ARE PAT|ENTS WlTH DlSAB|LlTlES WHO ARE
QUA\‘.l'Fl'ED 'l"O RECE\'VE $ERWCES l'N MOORE l'NTEGRA'l"ED $E'l"'l"l'NG$ AND

DO NOT OPPOSE lT

117. individuals admitted to or at serious risk of entering into State
hospitals have mental illness, such as schizophrenia, bipolar disorder,

depression, and others, that subsequently limit one or more major life
activities, including personal Care, working;, concentrating, thinking, and

sweeping. They are there for person but disability for purpose of the ADA.

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118. A vast majority of the individuals with mental illness in the State Hospitals
and those at serious risk of entry into those hospitals are qualified to receive

|Vlenta| Hea|th Services in the community aind can be served and more integrated

settings.

119. people in the state hospitals and those at serious risk of entry into these
hospitals are similar to people with mental illness who receive services in the
community. They have similar diagnosis anid needs as people who live
successfully and more integrated community base settings with the type of

support and services that currently exist in the states Community Mental Hea|th

system.

120. Persons with mental illness at the st ate hospital would not opposed
moving to and receiving services in integrated settings if APPROPR|ATE
Community based Services were available and lf individuals had a realistic
opportunity to do so. GEORG|A ELLEN HEAD HAS BEEN REPEATEDLY TELL|NG
STAFF SHE WANTS TO GO HOME WlTH HER DAUGHTER AND THE FAC|L|T|ES
HAVE REFUSED TO HEAR HER W|SHES OF ll-IER OR HER DAUGHTER!

121. individuals in the state hospital normally request to leave the facility in

return through their communities.

THE STATE FAC|L|T|ES lGNORES THE WlSHES OF THE PAT|ENT SO THAT THEY CAN
COLLECT FRAUDULENT FUNDS THROUGH NlED|CAlD AND OTHER ASSISTANCE OF

STATE-FU'N'D'E'D MON'E‘{':

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G. THE STATE CAN PROV|DE SERV|CES l|N lNTEGRATED SE'IT|NGS BUY
REASONABLY MOD|FY|NG lTS MENT.AL HEALTH SERV|CES SYSTEM

122. The State can provide services in integrated Community settings to people
with mental illness Who are currently held in state hospitals and two people with
mental illness at serious risk of entering into State hospitals through responsible
modifications to it Mental Hea|th Services System,

Georgia Allen Head has been held against iher will for a year after her release
date so fraudulent money could be collected for the State facilities!

123. the type of services needed to support people with mental illness and
community-based settings already existing Mississippi community-based Mental

Hea|th Services system.

124. However, these services are not sigmificantly provide it to meet the needs
of persons who are unnecessarily institutionalized or those at serious risk of

institutionalization.

125. With responsible modifications, including expansion of the capacity to
provide existing service, reallocation of funids from institutions and maximization
of the state's Medicaid program, Mississippi Community Mental Hea|th Services
would be able to meet the needs of people with mental illness in state hospitals

or atserio,us risk of being placed in a state |hospital.

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H. THE UN|TED STATES lNVESTlGAT|ONiS

126. After receiving and allegation of discrimination, in 2011, the United States
investigated the state of Mississippi compliant with the title || of the ADA. On
December 22nd, 2011 the United States issues it's finding and conclusion in a
letter to the governor, consulting that the state fails to provide services to adults
With mental illness in the most integrated setting appropriate to their needs as
requested by the ADA and Olmstead. Letteer from United States Department of
Justice, civil rights division to the Honorable Haley Rm Barbour ( Dec. 22, 2011).
The letter reported in detail the finding of tthe United States investigation
provided the state notice of its failure to comply with the ADA, and outline the
steps necessary for the state to meet the obligations presented to federal |aw.

TH|S lS 2018 AND NOTH|NG HAS BEEN DONE lN THE STATE OF MlSSlSSlPPl TO
MAKE THEM AB|DE BY THE ADA lNSTEAD 'll`HESE FAClLlTlES ARE FALSIFV|NG
DOCUMENTATI'ON AND HOLD|'NG PEOP\'.E AGAI'NST THEl'R W\'l'.l'. FOR STATE-
FUNDED MONEY! MR. LYNCH AT THE ATI`ORNEY GENERAL'S OFFlCE STATED ON
A. RECOR.DED LI.N.E l`l' lS OKAY 'l'O DEFR.AUDI THE TAXPAYERS 230 Ml.LLl.ON
DOLLARS AS LONG AS lT DOE$ NOT AFFEC'll' YOU!

127. Neither less, the state continues to liel| to ensure that adults with mental
illness are served in the most integrated setting appropriate to their needs, or
that their discharge planning needs are me't in order to transitions successfully

into Community settings.

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132. These dates actions continue discrimination in violation of Title || of the

ADA, 42 U.S.C § 12132and it's implementing regulations at 28 C.F.R. pt 35

133. The axe and emissions alleged in pairagraph 1 through 128 can you a
petition or practice and infringed upon the- legal rights of individuals residing in or
confined to institutions in Mississippi, constituting resistance to their full
enjoyment of their rights, privileges, or immunities secured or protected by the

ADA, and depriving persons in isolation of such rights, privileges, or immunities

PRAYERS FO|R REL|EF

The Attorney General is authorized undeer 42 U.S.C. §§ 1997 and 12131 et. To

seek equitable and declaratory relief.

WHETEFORE , Angela Ward and Georgia Head prays that the court:

A. Grant judgment in favor of the United States on its complaint and

declare that the defendant has violated Title || of the ADA, 42 U.S.C.§§
12131 et. Seg‘l

B. Enjion defendant from:

I. Discrr’minating against adults with mental illness in
Mississippi by failing to provide services, prrograms, or activities in the most

integrated settings appropriate to their needs,l

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128. The United States engaged in multip»le round of negotiations with the State
beginning in the spring of 2012. The Unitec!l States has demanded that
compliance cannot be secure by voluntry means. Judicial action is, therefore,
necessary to remedy the violations of law identified in the United States” letter
and to vindicate the rights of adult with mental illness in or at serious risk of

institutionalization in State Hospitals.
Q_lL\|B

VlOLAT|ON OF TlTLE ll OF THE AMER|CANS'» WlTH DlSABlLlTY ACT
42 U.S.C. §§ 12131 et Seg.

129. The allegations of paragraphs 1 thro»ugh 128 of the complaint are hereby

realigned and incorporated by reference

130. Defendant, State a Mississippi, is a public entity subject to Title ll of the

ADA, 42 u.s.c.§ 12131(1)

131. The state violates the ADA by administering the states Mental Hea|th
Service system in a manner that denies qualified adult with mental illness the
benefit of the states Mental Hea|th Service s, programs, or activities in the most
integrated settings appropriate to their needs and buy be|ly 2 responsibly modify
the State Mental Hea|th Service system to avoid discrimination against adults

with mental health disabilities. 42 U.S.C. § 12132; 28 C.F.R. 35 130

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2. Fai|ing to provide appropriate integrated community service
programs, or activities to adults with mental illness in
Mississippi, consistent with their individuaH needs to avoid placing their
individuals at serious risk of institutionalization of State hospitals and

3. Taking appropriate action necessary to remedy the violations
of Title of the ADA

C. issue a declaratory judgment that defendant has violated Title |i of

the ADA by failing to make responsible mo difications to service, programs, or
activities for adults with mental illness to e nab|e them to obtain the services,
programs, and activities they required to make it in the most integrated setting

appropriate to their needs;

D. Order such other appropriate relief as the interest oflustice may

require. RELEASE GEORG]A ALLEN HEAD |lVll\/lED|ATELYl!

Angela Ward pro see /\,
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pate oec 1st 2013
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